AO 106A (08/18) Application for ll Warrant by Telephono or Other Reliable Electronic Means


                                      UNITED STATES DISTRICT COURT
                                                                     fot· the
                                                         Eastern District of Wisconsin

              In the Matter of the Search of
          (Briefly describe the property to be searched
           or Identify the person by name and address)
Information associated with cabsnztroubla@gmall,com (the •accounts"),
that Is stored at premises owned, maintained, controlled, or operated by
                                                                                             Case No,   a~ -m- LP 11
Google LLC, a company headquartered at 1600 Amphitheatre Parkway,
                        Mountain View, CA 94043                               I
    APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
        I, a federnl law enforcement officer or an attorney for the govermnent, request a search wal'l'ant and state imder
penalty of petjury that I have t·eason to believe that on the following person or prnperty (Identify the person or describe the
property to be searched and give /Is localio11):
  See Attachment A.

                     - - - - Distdct of - - - -Wisconsin
                   Eastern
located in the - - -                            - - - - - - - , there is now concealed (Identify the
person or descl'lbe the properly to be seized):
  See Attachment B.


           The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
                fin evidence of a crime;
                ft contraband, fruits of crime, or other items illegally possessed;
                0 property designed for use, intended for use, or used in committing a crime;
                0 a person to be arl'ested or a person who is unlawfully restrained.
           The search is 1·elated to a violation of:
              Code Section                                                                   Offense Descl'l°ption
        18 U.S.C. § 2251 (a)                        Produce child pornography

          18 U.S.C. § 2252A(a)(5)(B)                Possess child pornography
           The application is based on these facts:
          See Attached Affidavit.

             a Continued on the attached sheet.
             □ .Delayed notice of _ _ days (give exact ending date if more than 30 days:  _ _ _ __ ) is requested under
                 18 U,S,C. § 3103a, the basis of which Is set forth on the ttached h,;et.            ~         &\
                                                                                                          Appl/can/ 's signature
                                                                                             Klevlnskas, SA Homeland Security Investigations
                                                                                                          Printed name and title

  Attested to by the applicant in accordance with the requirements of Fed. R. Crim, i>. 4.1 by
 _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ (specify reliable electr


  Date:

  City and state: Green Bay, Wisconsin                                                              aglstrate Judge J

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                             AFFIDAVIT IN SUPPORT OF
                      AN APPLICATION FOR A SEARCH WARRANT

       I, Julius Klevinskas, being first duly sworn, hereby depose and state as follows:

                      INTRODUCTION AND AGENT BACKGROUND

       1.       I make this affidavit in support of an application for a search warrant under 18

U.S.C. §§ 2703(a), 2703(b)(l)(A), and 2703(c)(l)(A) to require Google LLC ("Google") to

disclose to the government records and other information, including the contents of

communications, associated with the Google accounts listed in Attachment A, that is stored at

premises owned, maintained, controlled, or operated by Google, a company headquartered at

1600 Amphitheater Parkway, Mountain View, CA 94043. The infonnation to be disclosed by

Google and searched by the government is described in the following paragraphs and in

Attachment B.

       2.       I am a sworn law enforcement officer currently employed as a Special Agent with

the Department of Homeland Security, Homeland Security Investigations (HSI) and have been so

employed since approximately January 2023. I am cun-ently assigned to the Chicago Field

Division - Milwaukee Resident Office (RAC). Since becoming a Special Agent, I have received

specialized training in various aspects of law enforcement and my responsibilities include

conducting investigations of alleged criminal violations of federal statutes and laws. Prior to my

tenure as a HSI Special Agent, I was a Diversion Investigator with the Department of Justice -

Drug Enforcement Administration (DEA), Milwaukee District Office, from approximately July

2019 to January 2023.


        3.      Based on my training and experience, I know that individuals who engage in

criminal activity using online accounts often save, store, or possess digital information, data, and

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evidence within their online accounts. I know that as a regular course of business, many

electronic communication service providers maintain said digital information and content for a

period of time, and make it available to law enforcement agencies to seek with service of a legal

Court Order. I also know that as a regular course of business, electronic communication service

providers may maintain internal records that the company may collect from each individual user

as set by the agreed upon terms of service at the time of account activation. These internal

records may include various subscriber information such as IP address logs, user event time/date

stamps, device identification, phone numbers, email addresses, etc.

        4.      The facts in this affidavit come from my personal observations, my training and

experience, and information obtained from other agents and witnesses. This affidavit is intended

to show merely that there is sufficient probable cause for the requested warrant and does not set

forth all of my knowledge about this matter.

        5.      Based on my training and experience and the facts as set forth in this affidavit,
    .
there is probable cause to believe that violations of 18 U.S.C. § 2251(a), which makes it a crime

to produce child pornography and 18 U.S.C. § 2252A(a)(5)(B), which makes it a crime to

possess child pornography, the "subject offenses." There is also probable cause to search the

infonnation described in Attachment A for evidence, instrumentalities, contraband, and/or fruits

of these crimes further described in Attachment B.


                                           JURISDICTION

        6.      This Court has jurisdiction to issue the requested warrant because it is "a court of

 competentjurisdiction" as defined by 18 U.S.C. § 2711. 18 U.S.C. §§ 2703(a), (b)(l)(A), &

 (c)(l)(A). Specifically, the Court is "a district court of the United States ... that has jurisdiction

 over the offense being investigated." 18 U.S.C. § 2711(3)(A)(i).
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                                    PROBABLE CAUSE

       7.      On January 3, 2024, the Wisconsin Department of Justice Division of Criminal

Investigation (WI DOJ-DCI) received a referral from the United States Homeland Security

Investigations (HSI).

       8.      Between November 27, 2023, to January 3, 2024, HSI Special Agent (SA) Eddie

Ramirez, assigned to the HSI San Antonio Field Office, conducted a forensic review of a download

from a desktop computer tower seized by the San Antonio Police Department (SAPD) during a

child pornography investigation on June 26, 2023. On June 26, 2023, Laura Hurd, DOB:

05/26/1992, reported her boyfriend/ex-boyfriend, Bobby E. Matjeka DOB: 12/10/1980, had child

pornography on his computer. SAPD dispatched an officer(s) who observed the image(s) of child

pornography on the computer and subsequently seized the desktop computer tower (hereafter

referred to as the computer).

        9.     The SAPD obtained a search warrant for the computer on June 30, 2023. Due to

a backlog of electronics requiring review, HSI took custody of the computer on or around

November 17, 2023. An HSI Computer Forensic Analyst (CFA) downloaded the computer

between November 17, 2023, and November 27, 2023.

        10.    Between November 27, 2023, to January 3, 2024, HSI SA Ramirez then analyzed and

reviewed the download and found 20-30 naked images of the same prepubescent female child,

which SA Ramirez determined to be consistent with child pornography/child sexual abuse

material (CSAM) that originated from conversations from a Kik Usemame(s) Char

B/cabsnztrouble and text messages from phone number 920-205-5329. The images of the

prepubescent female child were sent from Char B/cabsnztrouble and 920-205-5329. The chats

 occurred between approximately December 2021 to June 2022.

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       11.     SA Ramirez sent a federal summons (akin to a subpoena) to the cellular service

provider for the phone number, T-Mobile, and identified the owner phone number as Charlotta

Belgum, residence of 907 North Fair Street, Appleton, WI, 54911.

       12.     Through further investigation, Charlotta was further identified as Charlotta A.

Belgum, DOB: 04/04/1986. A social media account, believed to belong to Belgum, depicted her

with a young child, who was identified by Appleton School District Records to be her 8-year-old

daughter, T.H., DOB: 08/03/2015. SA Ramirez subsequently identified T.H. in the social media

photographs as the same child depicted in the CSAM.

       13.     The WI DOJ-DCI obtained the copies of the chats reviewed by SA Ramirez. WI

DOJ-DCI SA Eric Voland reviewed the images recovered by SA Ramirez and believed the

images to be child pornography based on Wisconsin Statutes. Some of the images and comments

from the Kile conversation are sumrnarizedbelow:

        On December 14, 2021, Char B sent seven images ofT.H. in a bathtub filled with red

water. T.H. is described as being naked, has shoulder length brown hair, no pubic hair, and no

breast development. In one of the images, T.H. is in a crouched position looking at the camera

and her vagina is exposed above the water. The next image appears to be a close-up of T.H.'s

vagina area and her face is not visible.

        After those seven images are sent by Char B, the following conversation occurs:

        12/14/21 01 :41         (Matjeka)          Mmmmmmm. Man I love her
        12/14/21 01:42          CharB              I know. She's delectable .. .I can't get enough of
                                                   her.
        12/14/21 01:42          (Matjeka)          I can't either
        12/14/21 01 :44         CharB              She's just gorgeous and I love that she's into
                                                   chokers now too
        12/14/21 01 :45         (Matjeka)          Yes. She will be my slave so it's only right
        12/14/21 01:45          CharB              Agreed
        12/14/21 01:46          (Matjeka)          I'm so horny for her

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       12/14/21 01 :47       CharB          Me too

       14.    SA Vo land observed 25 images of T.H. naked in or around the bathtub in the Kik

conversations between December 10, 2021, and December 27, 2021, with sexual comments in

response to those images.

       15.    On January 3, 2024, SA Voland and SA Kadie Walusay (WIDOJ-DCI)

interviewed Charlotta Belgum at the Appleton Police Department. Belgum waived her Miranda

Rights and agreed to speak with the Special Agents. Belgum acknowledged that she has had

phone number 920-205-5329 for about the past nine years, and she acknowledged having a Kik

username of Char B. Belgum indicated she met people on the website FetLife, which is a social

network for people with fetishes. Belgum indicated she would meet people on this site and then

later communicate with them through text messages or Kik. SA Voland showed Belgum

sanitized images and some of the conversations that SA Ramirez recovered. Belgum admitted to

taking those pictures of T.H. in sexually explicit positions. Belgum admitted to sending those

images to "Bobby" in Texas through text messages during conversations that were sexual in

nature. Belgum also admitted to receiving CSAM images from "Bobby" because he wanted

Belgum to "get turned on" by those images. Belgum admitted that she took pictures of her

daughter, T.H., while in the bathtub at her home at 907 N. Fair Street, Appleton, WI, and at the

Great Wolf Lodge in Wisconsin Dells, with her phone and nobody else besides her took those

pictures. Belgum indicated that her primary email address is cabsnztrouble@gmail.com and that

email account is associated with her android phone. She indicated that she does not have any

naked pictures of her children on her phone and that she recently uploaded photos to her Google

account to clear out space on her phone.

        16.    I know that Google, LLC logs the assignment ofIP addresses to subscribers of
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their service at any given time. I know that these IP assignment logs will identify the Google,

LLC subscriber to whom the IP address listed above was assigned at the relevant time, and that

Google, LLC will be able to provide the subscriber information for that subscriber, including the

subscriber's name and billing address. I believe this infonnation will assist in locating the

physical location from which the suspect image was uploaded on the date and time in question

and will permit further investigation to identify the person responsible for uploading the suspect

image file.

        17.    I know from previous professional experience that Google, LLC will comply with

a Wisconsin court issued Warrant served through their online portal. I have utilized this portal,

which is specifically designated for law enforcement to upload/serve legal process, such as

Preservation Requests and Warrants for Electronic Communication Records.

        18.    Within five business days following receipt, I will prepare and submit to the clerk

of courts a Return of this Warrant, accompanied by a written inventory of the documents

received.

        19.    This investigation continues and is ongoing. I believe that secrecy of the Request

for this Warrant and this Affidavit in support, as well as the issuance of, all orders, returns and

other related information concerning the requested Warrant, is appropriate and necessary in order

to prevent premature disclosure of the status, progress or details of the investigation, as reflected

 in this Affidavit and to avoid the disclosure of possible sources of evidence, including sources

 over which one or more targets may have access or control. Further, based on my training and

 experience, I am aware and believe that persons who know they are a target of a criminal

 investigation sometimes attempt to flee to avoid apprehension, tamper with, conceal or destroy



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evidence that remains within their control, threaten or harm witnesses or otherwise

inappropriately influence witnesses.

       20.     I am aware that the current investigation involves the use of computers or other

digital devices and that the data stored on such devices may be relevant and probative evidence

in any subsequent investigation or prosecution. I know from my training and experience that

digital data can be recovered from storage devices/media even after long periods of time.

However, I also know that digital devices or storage media (hard drives, USB drives, CDs,

DVDs, etc.) can be easily concealed, moved, destroyed or damaged and thereby prevent a

forensic analysis of the contents of those devices, even if they can be located. For these reasons,

secrecy related to this investigation is necessary at this time so that law enforcement can

complete the investigation, including seeking search warrants or other means to gain access to

such devices/storage media while limiting the likelihood that the relevant data on them will be

destroyed or lost.

        21.    I estimate that further investigation of this matter may take an additional 90 days.

        22.    As required under California Penal Code § 1524.2(c), I attest that the evidence

sought in this warrant is not related to an investigation into, or enforcement of, a "prohibited

violation," as defined in California Penal Code § 629. 51. "Prohibited violation" under that section

means "any violation of law that creates liability for, or arising out of, either of the following:

providing, facilitating, or obtaining an abortion that is lawful under California law; [or] intending

or attempting to provide, facilitate, or obtain an abortion that is lawful under California law."

        23.     In general, an e-mail that is sent to a Google subscriber is stored in the

 subscriber's "mail box" on Google's servers until the subscriber deletes the e-mail. If the

 subscriber does not delete the message, the message can remain on Google's servers indefinitely.

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Even if the subscriber deletes the e-mail, it may continue to be available on Google's servers for

a certain period of time.

       24.     Therefore, Google's servers are likely to contain stored electronic

communications and information concerning subscribers and their use of Google's services. In

my training and experience, such information may constitute evidence of the crimes under

investigation including information that can be used to identify the account's user or users.

                            BACKGROUND CONCERNING GOOGLE

        25.     Google is a United States Company that offers to the public through its Google

Accounts a variety of online services, including email, cloud storage, digital payments, and

productivity applications, which can be accessed through a web browser or mobile applications.

Google also offers to anyone, whether or not they have a Google Account, a free web browser

called Google Chrome and a free search engine called Google Search.

        26.     In addition, Google offers an operating system ("OS") for mobile devices,

including cellular phones, known as Android. Google also sells devices, including laptops,

mobile phones, tablets, smart speakers, security cameras, and wireless routers. Users of Android

and Google devices are prompted to connect their device to a Google Account when they first

turn on the device.

        27.     Signing up for a Google Account automatically generates an email address at the

domain gmail.com. That email address will be the log-in username for access to the Google

Account. Enterprises may also establish Google Accounts which can be accessed using an email

 address at the enterprise's domain (e.g., employee[@]company.com).

        28.     Google advertises its services as "One Account. All of Google working for you."

 Once logged into a Google Account, a user can connect to Google's full suite of services offered

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to the general public, some of which are described in further detail below. In addition, Google

keeps certain records indicating ownership and usage of the Google Account across services,

described further after the description of services below.

       29.     GMAIL: Google provides email services (called Gmail) to Google Accounts

through email addresses at gmail.com or enterprise email addresses hosted by Google. Gmail can

be accessed through a web browser or a mobile application. Additional email addresses

("recovery," "secondary," "forwarding," or "alternate" email addresses) can be associated with

the Google Account by the user. Google preserves emails associated with a Google Account

indefinitely, unless the user deletes them.

        30.    CONTACTS: Google provides an address book for Google Accounts through

Google Contacts. Google Contacts stores contacts the user affirmatively adds to the address

book, as well as contacts the user has interacted with in Google products. Users can send

messages to more than one contact at a time by manually creating a group within Google

Contacts or communicate with an email distribution list called a Google Group. Users have the

option to sync their mobile phone or device address book, so it is stored in Google Contacts.

Google preserves contacts indefinitely, unless the user deletes them.

        31.     CALENDAR: Google provides an appointment book for Google Accounts

through Google Calendar. Users can create events or RSVP to events created by others in Google

Calendar. Google Calendar can be set to generate reminder emails or alarms about events or

 tasks, repeat events at specified intervals, track RSVPs, and auto-schedule appointments to

 complete periodic goals (like running three times a week). A single Google Account can set up

 multiple calendars. An entire calendar can be shared with other Google Accounts by the user or

 made public so anyone can access it. Users have the option to sync their mobile phone or device

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address book, so it is stored in Google Calendar. Google preserves appointments indefinitely,

unless the user deletes them.

       32.     GOOGLE KEEP: Google also provides online to-do lists and notepads for

Google Accounts. Google Keep allows users to create notes or lists. These notes can be shared

with other users to edit. Users can set notifications at particular dates and times for both tasks

and notes. Google preserves tasks and notes indefinitely, unless the user deletes them.

       33.     WEB-BASED CHATS and MOBILE MESSAGING: Google provides a

number of direct messaging services accessible through a browser or mobile application,

including Duo, Messages, Hangouts (Chat and Meet), and the now-retired Alla and Chat. These

services enable real-time communications. Users can send and receive text messages, videos,

photos, locations, links, and contacts from their Google Account using these services. Chat and

Hangouts require or required the other user to also have a Google Account. Duo, Messages, and

Alla do or did not. Google preserves messages sent through these services indefinitely, unless the

user turns off the setting to save conversation history or deletes the message.

        34.     GOOGLE DRIVE: Google Drive is a cloud storage service automatically

created for each Google Account. Users can store an unlimited number of documents created by

Google productivity applications like Google Docs (Google's word processor), Google Sheets

(Google's spreadsheet program), Google Forms (Google's web fom1 service), and Google Slides,

(Google's presentation program). Users can also upload files to Google Drive, including photos,

videos, PDFs, and text documents, until they hit the storage limit. Users can also set up their

personal computer or mobile phone to automatically back up files to their Google Drive

Account. Each user gets 15 gigabytes of space for free on servers controlled by Google and may

purchase more through a subscription plan called Google One. In addition, Google Drive allows

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users to share their stored files and documents with up to 100 people and grant those with access

the ability to edit or comment. Google maintains a record of who made changes when to

documents edited in Google productivity applications. Documents shared with a user are saved

in their Google Drive in a folder called "Shared with me." Google preserves files stored in

Google Drive indefinitely, unless the user deletes them.

       35.      GOOGLE DRIVE FOR ANDROID USERS: Android device users can also

use Google Drive to backup certain data from their device. Android backups on Google Drive

may include mobile application data, device settings, and file downloads. If a user subscribers to

Google's cloud storage service, Google One, they can opt to back up all the data from their

device to Google Drive.

        36.     GOOGLE PHOTOS: Google offers a cloud-based photo and video storage

service called Google Photos. Users can share or receive photos and videos with others. Google

Photos can be trained to recognize individuals, places, and objects in photos and videos and

automatically tag them for easy retrieval via a search bar. Users have the option to sync their

mobile phone or device photos to Google Photos. Google preserves files stored in Google Photos

indefinitely, unless the user deletes them.

        37.     GOOGLE MAPS and GOOGLE TRIPS: Google offers a map service called

 Google Maps that can be searched for addresses or points of interest. Google Maps can provide

 users with tum-by-tum directions from one location to another using a range of transportation

 options (driving, biking, walking, etc.) and real-time traffic updates. Users can share their real-

 time location with others through Google Maps by using the Location Sharing feature. And users

 can find and plan an itinerary using Google Trips. A Google Account is not required to use

 Google Maps, but if users log into their Google Account while using Google Maps, they can

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save locations to their account, keep a history of their Google Maps searches, and create

personalized maps using Google My Maps. Google stores Maps data indefinitely, unless the user

deletes it.

        38.    GOOGLE PLAY: Google Accounts can buy electronic media, like books,

movies, and music, and mobile applications from the Google Play Store. Google Play records

can include records of whether a particular application has been or is currently installed on a

device. Users cannot delete records of Google Play transactions without deleting their entire

Google Account.

         39.   GOOGLE VOICE: Google offers a service called Google Voice through which

a Google Account can be assigned a telephone number that can be used to make, record, and

forward phone calls and send, receive, store, and forward SMS and MMS messages from a web

browser, mobile phone, or landline. Google Voice also includes a voicemail service. Records are

stored indefinitely, unless the user deletes them.

         40.   GOOGLE CHROME: Google offers a free web browser service called Google

Chrome that facilitates access to the Internet. Chrome retains a record of a user's browsing

history and allows users to save favorite sites as bookmarks for easy access. If a user is logged

into their Google Account on Chrome and has the appropriate settings enabled, their browsing

history, bookmarks, and other browser settings may be saved to their Google Account.

         41.   YOUTUBE: Google also offers a video platfmm called YouTube that offers

 Google Accounts the ability to upload videos and share them with others. Users can create a

 Y ouTube channel where they can upload videos, leave comments, and create playlists available

 to the public. Users can subscribe to the YouTube channels of others, search for videos, save

 favorite videos, like videos, share videos with others, and save videos to watch later. More than

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one user can share control of a YouTube channel. Y ouTube may keep track of a user' s searches,

watch history, likes, comments, and change history to posted videos.

       42.     INTEGRATION OF GOOGLE SERVICES: Google integrates these various

services to make it easier for Google Accounts to access the full Google suite of services. Users

accessing their Google Account through their browser can toggle between Google Services via a

toolbar displayed on the top of most Google service pages, including Gmail and Drive. Google

Hangout and Chat conversations pop up within the same browser window as Gmail. Attachments

in Gmail are displayed with a button that allows the user to save the attachment directly to

Google Drive. If someone shares a document with a Google Account user in Google Docs, the

contact information for that individual will be saved in the user's Google Contacts. Google

Voice voicemail transcripts and missed call notifications can be sent to a user's Gmail account.

And if a user logs into their Google Account on the Chrome browser, their subsequent Chrome

browser and Google Search activity is associated with that Google Account, depending on user

settings.

        Google Account Records:

        43.    SUBSCRIBER RECORDS: When individuals register with Google for a Google

Account, Google asks users to provide certain personal identifying information, including the

user's full name, telephone number, birthday, and gender. If a user is paying for services, the

user must also provide a physical address and means and source of payment.

        44.     ACCESS RECORDS: Google typically retains and can provide certain

 transactional information about the creation and use of each account on its system. Google

 captures the date on which the account was created, the length of service, log-in times and

 durations, the types of services utilized by the Google Account, the status of the account

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(including whether the account is inactive or closed), the methods used to connect to the account

(such as logging into the account via Google's website or using a mobile application), and other

log files that reflect usage of the account. In addition, Google keeps records of the Internet

Protocol ("IP") addresses used to register the account and accept Google's terms of service, as

well as the IP addresses associated with particular logins to the account. Because every device

that connects to the Internet must use an IP address, IP address information can help to identify

which computers or other devices were used to access the Google Account.

       45.     Google maintains the communications, files, and associated records for each

service used by a Google Account on servers under its control. Even after a user deletes a

communication or file from their Google Account, it may continue to be available on Google's

servers for a certain period of time.

        46.    BROWSING, SEARCH, and APPLICATION USE HISTORY: Google

collects and retains data about searches that users conduct within their own Google Account or

using the Google Search service, including voice queries made to Google Assistant. Google also

has the capacity to track the websites visited using its Google Chrome web browser service,

applications used by Android users, and the use of Google applications by iPhone users.

According to Google, this search, browsing, and application use history may be associated with a

Google Account when the user is logged into their Google Account on the browser or device and

ce1iain global settings are enabled, such as Web & App Activity. Google also collects and retains

 data about the voice queries made to its artificial intelligence-powered virtual assistant, Google

 Assistant, on Android devices and associated it with the registered Google Account if certain

 global settings are enabled, such as Voice & Audio Activity tracking. Google usually maintains

 these records indefinitely, unless the user deletes them.

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       47.    LOCATION HISTORY: Google collects and retains data about the location at

which Google Account services are accessed from any mobile device, as well as the periodic

location of Android devices, regardless of service usage. This location data can derive from a

range of sources, including GPS data, Wi-Fi access points, cell-site locations, geolocation ofIP

addresses, sensor data, user searches, and Bluetooth beacons within range of the device.

According to Google, this location data may be associated with the Google Account signed-in or

registered to the device when Location Services are activated on the device and the user has

enabled certain global settings for their Google Account, such as Location History or Web &

App Activity tracking. The data retained may be both precision location data, like latitude and

longitude coordinates derived from GPS, and inferential location data, such as the inference that

a Google Account is in New York because it conducts a series of searches about places to eat in

New York and directions from one New York location to another. Google maintains these

records indefinitely unless the user deletes it or [not yet implemented: opts into automatic

deletion of their location histmy every three or eighteen months].

        48.    ANDROID DEVICE DATA: When an individual uses an Android device for the

firsttime, they are prompted to register the device to a new or existing Google Account. Data

about the use of the Android device is saved to the registered Google Account, including device

characteristics such as the device serial number, model type/number, and international mobile

equipment identity (!MEI). In addition, users may opt-in to Android device backups to Google

cloud servers. Android device backups are only saved as a unique backup file if the user

subscribes to Google's cloud storage service, Google One. If they do not, data from the device is

 associated with the registered Google Account and stored with similar data in the Google

 Account. For example, photos and videos on the device are backed up to Google Photos;

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contacts are backed up to Google Contacts; events and appointments are backed up to Google

Calendar; and files and certain application data are backed up to Google Drive. Google maintains

these records indefinitely, though users may delete Android back-up files in the same manner as

any other file associated with the relevant Google service.

       49.     Google also maintains records of the device characteristics of iPhones used to

access Google services, including the make and model of the device. Depending on user settings,

those records may be associated with the Google Account logged into the service in use on the

device. Google maintains these records indefinitely, unless the user deletes them.

        50.     In my training and experience, evidence of who was using a Google Account, and

from where, and evidence related to criminal activity of the kind described above, may be found

in the files and records described above. This evidence may establish the "who, what, where,

when, why, and how" of the criminal conduct under investigation, thus enabling the United

States to establish and prove each element or, alternatively, to exclude the innocent from further

suspicion. This can be true even if subscribers insert false infonnation to conceal their identity;

this information often nevertheless provides clues to their identity, location or illicit activities.

        51.     For example, the stored communications and files connected to a Google account

may provide direct evidence of the offenses under investigation. Based on my training and

 experience, messages, emails, voicemails, photos, videos, documents, and internet searches are

 often created and used in furtherance of criminal activity, including to communicate and

 facilitate the offenses under investigation.

        52.     In addition, the user's account activity, logs, stored electronic communications,

 location history, and other data retained by Google can indicate who has used or controlled the

 account. This "user attribution" evidence is analogous to the search for "indicia of occupancy"

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while executing a search warrant at a residence. For example, subscriber information, email and

messaging logs, documents, and photos and videos (and the data associated with the foregoing,

such as geo-location, date and time) may be evidence of who used or controlled the account at a

relevant time. As an example, because every device has unique hardware and software

identifiers, and because every device that connects to the Internet must use an IP address, IP

address and device identifier information can help to identify which computers or other devices

were used to access the account. Such information also allows investigators to understand the

geographic and chronological context of access, use, and events relating to the crime under

investigation.

       53.       Account activity may also provide relevant insight into the account owner's state

of mind as it relates to the offenses under investigation. For example, information on the account

may indicate the owner's motive and intent to commit a crime (e.g., infonnation indicating a

plan to commit a crime), or consciousness of guilt (e.g., deleting account infornrntion in an effort

to conceal evidence from law enforcement). ·

        54.      Other information connected to a Google Account may lead to the discovery of

additional evidence. For example, the identification of apps downloaded from the Google Play

Store may reveal services used in furtherance of the crimes under investigation or services used

to communicate with co-conspirators. In addition, emails, instant messages, Internet activity,

location info1mation, documents, and contact and calendar infmmation can lead to the

identification of co-conspirators and instrumentalities of the crimes under investigation.

        55.      As noted herein, the actors behind the aforementioned smart contract is

 continuing to perpetrate fraud. The Google's servers are likely to contain stored electronic

 communications and infonnation concerning subscribers and their use of Google services. In my

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trnining and experience, such information may constitute evidence of the crimes under

investigation including information that can be used to identify the account's user or users,

              INFORMATION TO BE SEARCHED AND THINGS TO BE SEIZED

        56,        I anticipate executing this warrant under the Electt'Onic Communications Privacy

Act, in particular 18 U.S,C, §§ 2703(a), 2703(b)(l)(A) and 2703(c)(l)(A), by using the wan·ant

to require Google to disclose to the government copies of the recol'ds and othet' information

(including the content of communications and stored data) particulady described in Section I of

Attachment B. Upon receipt of the information descl'ibed in Section I of Attachment B,

government"authol'ized persons will review that information to locate the items descdbed in

Section II of Attachment B,

                                              CONCLUSION

        57.        Based on the forgoing, I request that the Coul't issue the proposed search wai'L'ant.

         58.       PUL'suant to 18 U.S.C. § 2703(g), the presence of a law enforcement officer is not

requil'ed for the service or execution of this warrant.

               A             fe~4
Dated this~ day 0~2024. \




                                                               us Klevinskas
                                                              ecial Agent, Homeland Security
                                                            Investigations
                                               f~k,~IJ~/
 Sworn to telephonically this _J_ day of }afttfflry 2024",!,,'_----.....




                                                                       ates Magistrate Jud

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                                      ATTACHMENT A


                                   Property to Be Searched


       This warrant applies to information associated with cabsnztrouble@gmail.com (the

"accounts"), that is stored at premises owned, maintained, controlled, or operated by Google

LLC, a company headquartered at 1600 Amphitheatre Parkway, Mountain View, CA 94043.




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                                             Attachment B

                                    Particular Things to Be Seized

  I.       Information to be disclosed by Google LLC (the "Provider")
           To the extent that the information described in Attachment A is within the possession,
custody, or control of the Provider, regardless of whether such information is located within or
outside of the United States, and including any information that has been deleted but is still
available to the provider or has been preserved pursuant to a request made under 18 U.S.C. §
2703(f), the Provider is required to disclose to the government for each account or identifier
listed in Attachment A the following information from November 1, 2021 to Januaty 3, 2024,
unless otherwise indicated:

Google Account

       •   SUBSCRIBER AND ACCESS RECORDS: All business records and subscriber
           information, in any fonn kept, pertaining to the account, including: full name; physical
           address; telephone numbers, including SMS recovety and alternate sign-in numbers;
           alternative and recovery email addresses, including those provided during registration;
           usemames, screennames and other identifiers; account status; account creation date;
           account registration IP address; length of service; records of session times and durations,
           including log-in IP addresses; methods of connecting; log files; subscriber change
           history; means and source of payment (including any credit or bank account number);
           and detailed billing records;

       •   DEVICES: All device information associated with the accounts, including but not
           limited to, manufacture names, model numbers, serial number, media access control
           (MAC) addresses, international mobile equipment identifier (IMEI) numbers, FCC ID
           numbers, Android IDs, and telephone numbers;

       •   SERVICES: The types of services utilized, including connected applications and sites,
           and any dates associated with the commencement or termination of that use;

       •    FORWARDING OR FETCHING ACCOUNTS: All fotwarding or fetching accounts
            relating to the accounts;

       •    BROWSING, SEARCH, and APPLICATION USE HISTORY: All Internet search,
            browsing history, and application usage history, such as Web & App Activity, including:
            search tenns; browsing history, including application usage; bookmarks; passwords;
            autofill information; alerts, subscriptions, and other automated searches, including
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          associated notifications and creation dates; all text typed into the Google Chrome address
          bar or Google search bar, including URLs and IP addresses; all URLs or IP addresses
          clicked on; user settings; and all associated logs and change history;

  •       LOCATION HISTORY: All records indicating the location at which the account was
          active, such as Location History and Web & App Activity, including: GPS data; cell
          site/cell tower information; IP addresses; information associated with each location
          record, including the source of the data, date and time, latitude and longitude, estimated
          accuracy, device and platform, and inferences drawn from sensor data (such as whether a
          user was at rest, walking, biking, or in a car); and associated logs and user settings,
          including Timeline access logs and change history;


Gmail

  •       GMAIL: The contents of all emails associated with the account, including, but not
          limited to: stored or preserved copies of emails sent to and from the account, draft emails,
          and deleted emails; attachments; the source and destination addresses associated with
          each email; the date and time at which each email was sent; the size and length of each
          email; and true and accurate header information including the actual IP addresses of the
          sender and recipients of the emails;

   •      CONTACTS: Any records pertaining to the user's contacts, including: address books;
          contact lists, including autocomplete suggestions; social network links; groups, including
          Google Groups to which the user belongs or communicates with; user settings; and all
          associated logs and change history;

   •      CALENDAR: Any records pertaining to the user's calendar, including: Google Calendar
          entries; Google Tasks; reminders; appointments; invites; and goals; the sender and
          recipients of any event invitation, reminder, appointment, or task; user settings; and all
          associated logs and change history;

      •   WEB-BASED CHATS: The contents of all chats associated with the account, including
          Google Hangouts, Meet, and Chat, in any format (text, audio, or video) including, but not
          limited to: stored, deleted, and draft chat communications, including attachments and
          links; the source and destination addresses associated with each communication,
          including IP addresses; the size and length of each communication; user settings; and all
          associated logs, including access logs and change histmy;
Google Drive

      •    The contents of all records associated with the account in Google Drive (including Docs,
           Sheets, Fonns, and Slides) and Google Keep, including: files, folders, media, notes, lists,

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       applications, and other data uploaded, created, stored, or shared with the account
       including drafts and deleted records; third-party application data and backups; SMS data
       and device backups; the creation and change history of each record; accounts with access
       to or which previously accessed each record; any location, device, other Google service
       (such as Google Classroom or Google Group), or third-party application associated with
       each record; and all associated logs, including access logs and IP addresses, of each
       record;
Google Photos

   •   The contents of all media associated with the account in Google Photos or Picasa,
       including: photos, GIFs, videos, animations, collages, icons, or other data uploaded,
       created, stored, or shared with the account, including drafts and deleted records; third-
       party data; the creation and change history of each record; accounts with access to or
       which previously accessed each record; any location, device, or third-party application
       data associated with each record; and all associated logs, including access logs and IP
       addresses, of each record;
Google Maps and Trips

   •   All maps data associated with the account, including Google Maps and Google Trips,
       including: all saved, starred, and privately labeled locations; search history; routes begun;
       routes completed; mode of transit used for directions; infom1ation associated with
       locations and other data associated with My Maps and Location Sharing; accounts and
       identifiers receiving or sending Location Sharing information to the account; changes and
       edits to public places; and all associated logs, including IP addresses, location data, and
       timestamps, and change history;
Google Play Store

   •   All activity relating to Google Play, including: downloaded, installed, purchased, used,
       and deleted applications, movies, music, television shows, books, magazines, games, and
       other files; details of the associated device and Android ID for each application, medium,
       or file; payment transactions; user settings; and all associated logs, including IP
       addresses, location data, timestamps, and change hist01y;
Messaging Services

   •   MOBILE MESSAGING: The contents of all messages associated with the account,
       including Google Duo, Android Messages, and Google Allo, in any format (e.g. SMS,
       MMS, or RCS) including, but not limited to: stored, deleted, and draft messages,
       including attachments and links; the source and destination addresses associated with
       each communication, including IP addresses and telephone numbers; the size and length
       of each communication; associated telephone numbers, including SMS recovery

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       numbers; usernames and other identifiers; user settings; and all associated logs and
       change history;
Connected Applications and Accounts

   •   LINKED NON-GOOGLE ACCOUNTS: All records relating to connected applications
       and websites not controlled by Google, including: applications and websites connected to
       the account at any time; associated account identifiers; privacy settings and account
       access permissions; and all associated logs, including access logs using Google
       credentials, timestamps, IP addresses, and change history;
       The Provider is hereby ordered to disclose the above information to the Government
within 14 days of the issuance of this warrant.

 II.   Information to be seized by the government

       All information described above in Section I that constitutes evidence and/or
instrumentalities of violations of 18 U.S.C. § 2251(a) and 18 U.S.C. § 2252A(a)(5)(B) since
November 1, 2021, including, for each account or identifier listed on Attachment A, information
pertaining to the following matters:

              a. Associated code and digital artifacts related to the creation of smart contracts;

              b. Identifying, hosting, maintaining, and registering domains and other means of
                 online infrastructure;

              c. Registering websites, hosting websites, advertising, and client contact;

              d. Fraud or phishing;

              e. Finances, including cryptocurrency;

              f. The identity of the person(s) who created or used the Google ID; including
                 records that help reveal the whereabouts of such person(s);

              g. Evidence indicating how and when the account was accessed or used, to
                 determine the chronological and geographic context of account access, use and
                 events relating to the crime under investigation and the account subscriber;

               h. Any records pertaining to the means and source of payment for services
                  (including any credit card or bank account number or digital money transfer
                  account information);

               1.   Evidence indicating the subscriber's state of mind as it relates to the crimes
                    under investigation, including interests and motivations; and

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              j. Evidence that may identify any co-conspirators or aiders and abettors, including
                 records that help reveal their whereabouts.

       This warrant authorizes a review of electronically stored information, communications,
other records and information disclosed pursuant to this warrant in order to locate evidence,
fruits, and instrumentalities described in this warrant. The review of this electronic data may be
conducted by any government personnel assisting in the investigation, who may include, in
addition to law enforcement officers and agents, attorneys for the government, attorney support
staff, and technical experts. Pursuant to this warrant, the FBI may deliver a complete copy of the
disclosed electronic data to the custody and control of attorneys for the government and their
supp01i staff for their independent review.




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